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EXHIBIT A

Line 1

Line 2

Line 3

Line 4

Line 5

Line 6

Line 7

Line 8

Line 1

Line 2

Line 3

Line 4

Line 5

Line 6

Line 7

Line 8

Claim No.

I\/|usica| Composition
Writer(s)

Pub|isher P|aintiff(s)
Date(s) of Registration
Registration No(s).
Date(s) of infringement

P|ace of |nfringement

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Schedule

1
Ain't Too Proud To Beg
Eddie Ho|land, Norman Whitfield
Stone Diamond N|usic Corp.
5/9/66
Ep 216556
6/24/2018

Tom Grainey's

Page 2 of 7

 

C|aim No.

|V|usical Composition
Writer(s)

Pub|isher P|aintif'f(s)
Date(s) of Registration
Registration No(s).
Date(s) of Infringement

Place of |nfringement

2
Another One Bites The Dust
John Deacon
Beechvvood Nlusic Corporation
7/3/80
PA 73-494
6/23/2018

Tom Grainey's

 

EXHIB|T A

 

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Line 1 Ciaim No. 3

Line 2 i\/iusica| Composition Biiiie Jean

Line 3 Writer(s) i\/iichae| Jackson

Line 4 Pub|isher P|aintiff(s) N|J Pub|ishing Trust d/b/a i\/|ijac i\/iusic

Line 5 Date(s) of Registration 12/27/82

Line 6 Registration No(s). PA 158-772

Line 7 Date(s) of infringement 6/24/2018

Line 8 P|ace of infringement Tom Grainey's

Line 1 Ciaim No. 4

Line 2 i\/iusica| Composition Boogie Oogie Oogie

Line 3 Writer(s) Janice i\/iarie Johnson; Perry Kibbie

Line 4 Pubiisher Piaintiffisi Janice-i\/iarie Vercher, an individual d/b/a Conciucive i\/iusic; Spirit One i\/|usic, a Division of
Spirit |\/iusic Group inc.; Embassy i\/iusic Corporation

Line 5 Date(s) of Registration 5/2/78

Line 6 Registration No(s). PA 5-715

Line 7 Date(s) of infringement 6/23/2018

Line 8 P|ace of infringement Tom Grainey's

Line 1 Ciaim No. 5

Line 2 i\/iusicai Composition Grease

Line 3 Writer(s) Barry Gibb

Line 4 Pub|isher P|aintiff($i Barry Aian Gibb, an individual d/b/a Crompton Songs

Line 5 Dafe(s) of Registration 3/16/78

Line 6 Registration No(s). PAu 13-063

Line 7 Date(s) of infringement 6/24/2018

Line 8 P|ace of infringement Tom Grainey's

 

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Line 1 C|aim No. 6

Line 2 i\/iusica| Composition ~ i Heard it Through The Grapevine a/k/a Heard it Through The Grapevine
Line 3 Writer(s) Norman Whitfieid. Barrett Strong

Line 4 Pribiisher Piainiiffisi Stone Diamond i\/iusic Corp.

Line 5 Date(s) of Registraiion 8/24/66
Line 6 Registration No(s). Ep 220700

Line 7 Date(s) of infringement 6/24/2018

 

Line 8 P|ace of infringement Tom Grainey‘s

Line 1 Ciaim No. 7

Line 2 i\/iusicai Cornposition iWanna Dance With Somebody Who Loves i\/ie a/i</a Somebody Who Loves i\/ie

Line 3 Writer(s) George i\/ierri||; Shannon Rubicam

Line 4 Pubiisher Piaintiff(s) Rondor i\/iusic internationai, inc. d/b/a irving i\/iusic; Shannon Rubicam and George Robert
Nierri|i, a partnership d/b/a Boy i\/ieets Giri i\/iusic

Line 5 Date(s) of Registration 11/10/86 6/15/87
6/30/87

Line 6 Registration No(s). PAu 901-755 PA 343-550
PAu 985-995

Line 7 Date(s) of infringement 6/23/2018

Line 8 P|aoe of infringement Torn Grainey's

 

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Line 1 Ciaim No. 8

Line 2 i\/iusicai Composition ii/ir. Big Stuff

Line 3 VVriter(s) Joe Broussard; Raiph Wi|iiams; Carro| Washington
Line 4 ' Pubiisher Piaintiff(si Cara|jo |Viusic, incorporated; i\/iaiaco i\/iusic Company; Peermusic iii. Ltd.
Line 5 Date(s) of Registration 3/25/71 7/15/71

Line 6 Registration No(s). Eu 242623 Ep 289151

Line 7 Date(s) of infringement 6/24/2018

Line 8 Piace of infringement Tom Grainey‘s

Line 1 Ciaim No. 9

Line 2 i\/iusicai Composition Papa's Got A Brand New Bag

Line 3 Writer(s) James Brown

Line 4 Pub|isher Piaintiff(s) Dynatone Pub|ishing Company

Line 5 Date(S) of Registration 6/30/65 9/29/65

Line 6 Registration No(s). Ep 204266 Ep 207820

Line 7 Date(s) of infringement 6/23/2018

Line 8 Piace of infringement Tom Grainey’s

Line 1 Ciaim No. 10

Line 2 i\/iusicai Composition You Can't Hurry Love

Line 3 Writer(s) Eddie Ho|iand; Lamont Dozier; Brian Hoiiand
Line 4 Pubiisher Piaintiff(s) Stone Diamond i\/iusic Corp.

Line 5 Date(s) of Registration 6/14/65

Line 6 Registration No(s). Ep 203453

Line 7 Date(s) of infringement 6/24/2018

Line 8 Piace of infringement Tom Grainey's

 

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Line 1 Ciaim No. 11

Line 2 i\/iusicai Composition You Keep iVie Hangin' On

Line 3 Writer(s) Eddie Hoiiand; Lemont Dozier; Brian Hoi|and
Line 4 Pubiisher Piaintiff(si Stone Diamond |Viusic Corp.
Line 5 Date(s) of Registration 8/8/66

Line 6 Registration No(s). Ep 220063

Line 7 Date(s) of infringement 6/23/2018

Line 8 Piace of infringement Tom Grainey's

Line 1 Ciaim No. 12

Line 2 |Viusica| Composition Payback a/i</a The Paybaci<
Line 3 Writer(s) James Brown; Fred Wes|ey; John Sterks
Line 4 Pub|isher Piaintiffis) Dynatone Pubiishing Company
Line 5 Date(s) of Registration 1/5/01 12/11”3
Line 6 Registration No(s). RE 841-902 Eu 449756
Line 7 Date(s) of infringement 6/23/2018

Line 8 Piace of infringement Tom Grainey's

Line 1 Ciaim No. 13

Line 2 i\/iusicai Composition i\/iake it Funky

Line 3 Writer(s) James Brown; Char|es Bobbit
Line 4 Pubiisher P|aintiff(e) Dynatone Pubiishing Company
Line 5 Date(s) of Registration 8/12/71 8/12/71

Line 6 Registration No(s). Eu 273303 Eu 273304

Line 7 Date(s) of infringement 6/23/2018

Line 8 Piace of infringement Tom Grainey's

 

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Line 1 Ciaim No. 14
Line 2 i\/iusicai Composition Use iVie

Line 3 Writer(s) Biii Withers

Line 4 Pubiisher Piaintiff(s) interior i\/iusic Corp.

Line 5 Date(s) of Registration 12/13/00 4/24/72
Line 6 Registration No(s). RE 832-587 Eu 325138
Line 7 Date(s) of infringement 6/24/2018

Line 8 Piace of infringement Tom Grainey's

Line 1 Ciaim No. 15

Line 2 i\/iusicai Composition Country Ghetto

Line 3 Writer(s) John Grey higginbotham
Line 4 Pubiisher Piaintiffisi JJ Grey i\/iusic, inc.

Line 5 Date(s) of Registration 12/6/07

Line 6 Registration No(s). PA 1-617-511

Line 7 Date(s) of infringement 6/24/2018

Line 8 Piace of infringement Tom Grainey‘s

 

